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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK

_______________________________________________

Nadine Gazzola, individually, and as co-owner,
President, and as BATFE Federal Firearms Licensee
Responsible Person for Zero Tolerance
Manufacturing, Inc.;
Seth Gazzola, individually, and as co-owner, Vice
President, and as BATFE FFL Responsible Person for
Zero Tolerance Manufacturing, Inc.;
John A. Hanusik, individually, and as owner and as
BATFE FFL Responsible Person for d/b/a
“AGA Sales”;
Jim Ingerick, individually, and as owner and as
BATFE FFL Responsible Person for Ingerick’s, LLC,
d/b/a “Avon Gun & Hunting Supply”;                          Civ. No.: 1:22-cv-1134 (BKS/DJS)
Christopher Martello, individually, and as owner and
as BATFE FFL Responsible Person for Performance
Paintball, Inc., d/b/a “Ikkin Arms,”;
Michael Mastrogiovanni, individually, and as owner
and as BATFE FFL Responsible Person for “Spur
Shooters Supply”;
Robert Owens, individually, and as owner and as
BATFE FFL Responsible Person for “Thousand
Islands Armory”;
Craig Serafini, individually, and as owner and as
BATFE FFL Responsible Person for Upstate Guns and
Ammo, LLC; and,
Nick Affronti, individually, and as BATFE FFL
Responsible Person for “East Side Traders LLC”; and,
Empire State Arms Collectors, Inc.;

       Plaintiffs

  v.

KATHLEEN HOCHUL, in her Official Capacity as
Governor of the State of New York;



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STEVEN A. NIGRELLI, in his Official Capacity as the
Acting Superintendent of the New York State Police;
ROSSANA ROSADO, in her Official Capacity as the
Commissioner of the Department of Criminal Justice
Services of the New York State Police; and,
LETICIA JAMES, in her Official Capacity as the
Attorney General of the State of New York,

          Defendants

______________________________________________



                     PLAINTIFFS’ MOTION FOR TEMPORARY RELIEF


       PLEASE TAKE NOTICE that upon the Plaintiffs’ Complaint, Declarations, Exhibits, and

Memorandum of Law and upon all prior proceedings, the Plaintiffs, through their Counsel, will

move this Court before the Hon. Brenda K. Sannes at a date, time, and manner to be established

by the Court at the United States District Court, Northern District of New York (Syracuse, New

York), for an Order, as follows:


  I.      Pursuant to FRCP Rule 6(c) and Local Rule 7.1(b)(1) and (2), granting an expedited

          hearing on Plaintiffs’ Motion for a Temporary Restraining Order and/or a Preliminary

          Injunction; AND,


 II.      Pursuant to FRCP Rule 65(a), for a Temporary Restraining Order and/or Preliminary

          Injunction enjoining Defendants and their officers, agents, servants, employees, and all

          persons in concert or participation with them who receive notice of the temporary

          restraining order and/or preliminary injunction, be enjoined, effective immediately, from




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enforcing all of the following laws (herein “new laws – Group A” as pre-empted by

federal law), and any regulations, policies, or practices implementing it, specifically:


   1. NY Gen Bus §875-b – allowing NY-licensed dealers in firearms to establish
       individual shipping protocols; and,

   2. NY Gen Bus §875-b(2) – a “security alarm system” to be installed and maintained
       by a “licensed” third party vendor; and,

   3. NY Gen Bus §875-f – mandatory submission semi-annually of the Book of
       Acquisitions and Dispositions (herein “A&D Book”) to the Defendant NYS
       Police; and,

   4. NY Gen Bus §§875-f(1), (2), (3), and (4) – records storage requirements with
       electronic record back-up; and,

   5. NY Gen Gus §875-f(2) – mandatory monthly creation of firearms inventory
       reconciliation reports for the Defendant NYS Police; and,

   6. NY Gen Bus §875-f(3) – forced access to inventory records “at any time” by “law
       enforcement agencies and to the manufacturer of the weapon or its designee;” and,

   7. NY Gen Bus §875-g(b)(1) – mandatory submission by NY firearms dealers of an
       annual certification of compliance to the Defendant NYS Police; and,

   8. NY Pen §400.02(2) – ammunition background checks using the NICS system;
       and,

   9. NY Exec §228 – the transfer of the federal NICS background check to the
       Defendant NYS Police as the “Point of Contact,” creation of a new division within
       the NYS Police to perform background checks, as a forced intermediary between
       the FFL and the current, federal NICS background check system; AND,




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III.   Pursuant to FRCP Rule 65(a), for a Temporary Restraining Order and/or Preliminary

       Injunction enjoining Defendants and their officers, agents, servants, employees, and all

       persons in concert or participation with them who receive notice of the temporary

       restraining order and/or preliminary injunction, be enjoined, effective immediately, from

       enforcing all of the following laws (herein “new laws – Group B” as unconstitutional

       under the Second, Fifth, and Fourteenth Amendments), and any regulations, policies, or

       practices implementing it, specifically:


          1. NY Gen Bus §875-g(b)(1) – mandatory submission by firearms dealers of an
             annual certification of compliance to the Defendant NYS Police; and,

          2. NY Pen §400.00(1) and §400.00(19), read with NY Exec §837(23)(a) and
             NY Pen §265.20(3-a) – requiring standardized, classroom and live-fire course and
             test for concealed carry handgun permits, using a curriculum from the Defendant
             NYS Police and DCJS; and,

          3. NY Pen §§§400.00(2), 400.00(3) 400.00(6), 400.00(7), 400.00(8), 400.00(9), and
             400.00(14), read with NY Pen §§265.65 and 265.66 – restricting the purchase of
             a semi-automatic rifle without a license (not valid within the city of New York
             with certain exceptions), in a form approved by the Defendant NYS Police and
             issued and amended by the county licensing officer; and,

          4. NY Pen §§400.02(2) – requirement of an ammunition background check; AND,

IV.    Pursuant to FRCP Rule 65(a), for a Temporary Restraining Order and/or Preliminary

       Injunction enjoining Defendants and their officers, agents, servants, employees, and all

       persons in concert or participation with them who receive notice of the temporary

       restraining order and/or preliminary injunction, be enjoined, effective immediately, from

       enforcing all of the following laws (herein “new laws – Group C” as unconstitutional


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regulatory overburden in violation of the Second and Fourteenth Amendments), and any

regulations, policies, or practices implementing it, specifically:


   1. NY Gen Bus §875-b(1) – the “security plan,” including a “safe,” “vault,” or
       “secured and locked area on the dealer’s business premises” and the separate
       storage of ammunition; and,

   2. NY Gen Bus §875-b(2) – a “security alarm system,” including installation and
       maintenance by a third party vendor, as well as specified placement of cameras
       with video recording devices with feed storage; and,

   3. NY Gen Bus §875-c – the prohibition of entry of persons under eighteen years of
       age without a parent or legal guardian; and,

   4. NY Gen Bus §875-e – mandatory annual employee training and records
       demonstrating such training; and,

   5. NY Gen Bus §875-e(3) – restriction against employees under the age of twenty-
       one years; and,

   6. NY Gen Bus §875-f(2) – mandatory monthly creation of firearms inventory
       reconciliation reports by firearms dealers to the Defendant NYS Police; and,

   7. NY Gen Bus §875-g(2) – periodic inspections with “full access” to dealer
       premises no less than once every three years; and,

   8. NY Pen §270.22, to be read with NY Exec §144-a – restriction against the sale of
       body vests, with exempted professions and persons upon declaration by the NYS
       Police; and,

   9. NY Pen §400.03(2) – mandatory record-keeping requirements for ammunition
       sales; AND,




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V.    For an order that such Preliminary Injunction remain in effect pending disposition of the

      case on the merits and that no bond be required from Plaintiffs; AND,


VI.   In the event the Court awards a Temporary Restraining Order against all such new laws,

      for an order that the Defendants be restrained from issuing any website page, “FAQ”

      flyer, hand-out/memo, “curriculum,” “test,” rules, regulations, or other written materials

      pertaining to said new laws; OR,


         A. In the event the Court is not inclined to grant immediate temporary relief above in

             whole or in part, for an order that the Defendants, within ten days (10-days) of an

             Order of this Court, be compelled to produce all required written materials under

             the laws complained of herein, on submission to a Special Master, through such

             process is set forth in the next item for relief; AND,


         B. In the event the Court is not inclined to grant immediate temporary relief above in

             whole or in part, pursuant to FRCP Rule 53 an order appointing a Master and for

             such Master to be paid exclusively by the Defendants, said Master to have

             specific and limited power to receive all documents claimed by the Defendants to

             make attempt to fulfill one or more of their statutory obligations under the new

             laws, which submissions shall not be submitted under seal for review by Counsel

             and the Parties as a restricted access document into the cm/ecf filing system with

             30-day notice to the Plaintiffs for comment and object, a 15-day period for

             Defendant response, and a 15-day period for Plaintiff Reply, including that the

             Master may hear from the Attorneys and/or the Parties and receive any such




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              documentary evidence as may be appropriate, for the Master to then hear and

              report to the presiding Judge of whether such materials should be published, all

              such publications to be done through a single website with written notification to

              all New York Penal Law §400.00 Licensees; AND,


VII.   Such other, further, and different relief as to the Court may be just under the immediate

       circumstances of this emergency request.


Respectfully submitted this 8th day of November 2022,

                                                     Attorney for the Plaintiffs

                                                     Paloma A. Capanna
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                                CERTIFICATE OF SERVICE

       In accordance with FRCP 5(b)(1) and FRCP 5(d)(1)(B), I hereby certify that a true and
correct copy of the foregoing was served electronically upon Counsel to the Defendants through
the court’s electronic filing system filing system, upon receipt of the Notices of Appearance of
said Counsel.


Respectfully submitted this ____ day of November 2022,

                                                     Attorney for the Plaintiffs

                                                     Paloma A. Capanna
                                                     Paloma A. Capanna, Attorney




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